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  A0 245B (Rev 12/03) Judgment in a Criminal Case
           Sheet 1



                                       United States District Court
                                                    SOUTHERN DISTRICT OF GEORGIA
                                                          DUBLIN DIVISION

            UNITED STATES OF AMERICA                                          JUØGMENT IN A CRIMINAL CASE
                        V.

                      Mike Adams                                              Case Number              CR305-0002p0l

                                                                              USM Number:              l2622-02f'\              -4           U, -
                                                                              Mitchell M. Shook                                               -, ri
                                                                              Defendant's Attorney

                                                                                                                     CDl1\)
  THE OEFENDANT:
                                                                                                                                              -4
[X]         pleaded guilty to Countj.
     I      pleaded nob contendere to Couiit(s) which was accepted
            by the court.
  11        was found guilty on Count(sL after a plea of not guilty.

  The defendaiit has been convicted of the fbllowing offense:


             Title & Section               Nature of Offense                                          Offense Ended                  Count

                                           Conspiracy to distribute a quantity of cocaine          September 16, 2005                  Is
    21 U.S.C. § 841(a)(I) and 846          base (crack) and a quantity of cocaine
                                           hydrochloride (powder)
            The defendant is sentenced as provided in pages 2 through ofthisjudgment. The sentence is imposed pursuant to the Sentencing
  Reform Act of 1984.
            The defendant has been found not guilty on count(sL,.
     I      Count(s)_ (is)(are) dismissed on the motion of the United States.


           It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
  residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid, If ordered
  to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.




                                                                                   October 24, 2008




                                                                                   William T. Moore, Jr.
                                                                                   Chief Judge, U. S. District Court
                                                                                   Name and Title of Judge

                                                                                                     r Z4O
                                                                                   Date
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AO 245B (Rev 12/03) Judgment in a Criminal Case:                                                       Judgment-Page 2 of 7
        Sheet 2 - Imprisonment

DEFENDANT: Mike Adams
CASE NUMBER: CR305-00024-0O1
                                                   IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
          for a total term of: 215 months, and that he receive credit for time served since his arrest.

[XI The Court makes the following recommendations to the Bureau of Prisons: The Court recommends that the
      defendant be designated to the facility in Jesup, Georgia, and that he participate in the 500-hour Residential
      Drug Abuse Program.


[X]       The defendant is remanded to the custody of the United States Marshal.
[         The defendant shall surrender to the United States Marshal for this district:

          [ I at       [ ] a.m. [ ] p.m. on ______
          [ ] as notified by the United States Marshal.

[]        The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          [ ] before2p.m.on
          [ J as notified by the United States Marshal.
          [ ] as notified by the Probation or Pretrial Services Office.
                                                        ft11iIJi
          I have executed this judgment as follows:




          Defendantdelivered on ____________________to _________________________
at_____________________________________ , with a certified copy of this judgment.




                                                                                          United States Marshal


                                                                               By
                                                                                      Deputy United States Marshal
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AO 245B (Rev 12/03) Judgment in a Criminal Case                                                                                           Judgment-Page 3 of 7
       Sheet 3 - Supervised Release

DEFENDANT: Mike Adams
CASE NUMBER: CR305-00024-OO1
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of: ygrs


          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the custody
of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

Ihe defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as determined by the
court.

[1        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future substance abuse.
          (Check, if applicable.)

[X]       The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

[XJ       The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

[1        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a student, as
          directed by the probation officer. (Check, if applicable.)

I]        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the Schedule of
Payments sheet of this judgment.

          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions on the
attached page.

                                             STANDARD CONDITIONS OF SUPERVISION

I)        the defendant shall not leave the judicial district without the permission of the court or probation officer;

2)        the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each month;

3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

4)        the defendant shall support his or her dependents and meet other family responsibilities;

5)        the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other acceptable
          reasons;

6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance
          or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
          unless granted permission to do so by the probation officer;

10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;

II)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission
          of the court;

13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record
          or personal history or characteristics and shall permit the probation officer to make such notification and to confirm the defendant's compliance
          with such notification requirement; and

14)       Any possession, use, or attempted use of any device to impede or evade drug testing shall be a violation of supervised release.
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AO 245B (Rev 12/03) Judgment in a Criminal Case:                                                     Judgment-Page 4 of 7
        Sheet 3C - Supervised Release

DEFENDANT: Mike Adams
CASE NUMBER: CR305-00024-OO1



                                           SPECIAL CONDITIONS OF SUPERVISION

          The defendant shall participate in a program of testing for drug and alcohol abuse and, if the Court
          determines it is necessary, the defendant shall participate in a program of treatment for drug and alcohol
          abuse.
2. The defendant shall submit his person, residence, office, or vehicle to a search conducted by the United
       States Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion
       of contraband or evidence of a violation of a condition of release; failure to submit to a search may be
       grounds for revocation. The defendant shall warn any other residents that the premises may be subject to
       searches pursuant to this condition.

                                                    ACKNOWLEDGMENT
Upon finding of a violation of probation or supervised release, I understand that the court may (1) revoke
supervision, (2) extend the term of supervision, and/or (3) modify the conditions of supervision.
These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


    (Signed)
                     Defendant                                         Date




                    U. S. Probation Officer/Designated Witness         Date
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AC) 245B (Rev 12/03) Judgment in a Criminal Case:                                                                            Judgment-Page 5 of 7
        Sheet 5 - Criminal Monetary Penalties

DEFENDANT: Mike Adams
CASE NUMBER: CR305-00024-001
                          CRIMINAL MONETARY PENALTIES

            The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                                            Assessment                      Fine                 Restitution

 Totals:                                                             $100

       The determination of restitution is deferred until         An Amended Judgment in a Criminal Case (AO 245C) will be entered after
           such a determination,

   I The defendant must make restitution (including community restitution) to the following payees in the amounts listed below,
          If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
          otherwise in the priority order or percentage payment column below. Ilowever, pursuant to 18 U.S.C. § 3664(i), all nonfederal
          victims must be paid before the United States is paid.


              Name of Payee                         Total Loss*             Restitution Ordered                 Priority or Percenta2e




                 Totals:


   I        Restitution amount ordered pursuant to plea agreement              $

            The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
            the fifteenth day after the date ofjudgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
            to penalties for delinquency and default pursuant to 18 U.S.C. § 36 12(g).
   I        The court determined that the defendant does not have the ability to pay interest and it is ordered that:

                     The interest requirement is waived for the       [ I fine    [ j restitution.
                     The interest requirement for the    [ I fine       [ restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, I IOA and I 13A of Title 18 for offenses committed on or after
September 13, 1994, hut before April 23, 1996.
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AO 245B (Rev 12/03) Judgment in a Criminal Case:                                                                               Judgment-Page 6 of 7
        Sheet 6 - Criminal Monetary Penalties

DEFENDANT: Mike Adams
CASE NUMBER: CR305-00024-OO1
                                                    SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A [XI Lump sum payment of $ jJ due immediately, balance due

                not later than _; or
                in accordance with [ J C, [ I D, [             B, or [ ] F below; or

B [ I Payment to begin immediately (may be combined with { I C, [ j D, or [ I F below); or

C[]       Payment in equal - (e.g., weekly, monthly, quarterly) installments of$ over a period of (e.g., months or years), to commence
          - (e.g., 30 or 60 days) after the date of this judgment; or

D[]       Payment in equal - (e.g., weekly, monthly, quarterly) installments of$ over a period of          (e.g., months or years), to commence
          _(e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E [ J Payment during the term of supervised release will commence within - (eg., 30 or 60 days) after release from imprisonment.
         the court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F[I       Special instructions regarding the payment of criminal monetary penalties:


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

   I      Joint and Several
             Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
             Amount, and corresponding payee, if appropriate:


          The defendant shall pay the cost of prosecution.

   ]      The defendant shall pay the following court cost(s):


          The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (I) assessment; (2) restitution principal; (3) restitution interest; (4) fine principal; (5) fine
interest; (6) community restitution; (7) penalties, and (8) costs, including cost of prosecution and court costs.
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AO 245B (Rev 12/03) Judgment in a Criminal Case:                                                                          Judgment-Page 7 of 7
       Sheet 7 - Denial of Federal Benefits

DEFENDANT: Mike Adams
CASE NUMBER: CR305-00024-OO1
                                             DENIAL OF FEDERAL BENEFITS
                                   (For Offenses Committed On or After November 18, 1988)
FOR DRUG TRAFFICKERS PURSUANT TO 21 U.S.C. § 862(a)

          IT IS ORDERED that the defendant shall be:

[ ] ineligible for all federal benefits for a period of
[ ] ineligible for the following federal benefits for a period of
          (specifi benefit(s)) -
                                                                        OR
[XI        Having determined that this is the defendant's third or subsequent conviction for distribution of controlled substances, IT IS
           ORDERED that the defendant shall be permanently ineligible for all federal benefits.

FOR DRUG POSSESSORS PURSUANT TO 21 U.S.C. § 862(b)

           IT IS ORDERED that the defendant shall:

      be ineligible for all federal benefits for a period of

   I be ineligible for the following federal benefits for a period of
          (specit' benefit(s)) -


                     successfully complete a drug testing and treatment program.

                     perform community service, as specified in the probation and supervised release portion of this judgment.

                     Having determined that this is the defendant's second or subsequent conviction for possession of a controlled substance,
                     IT IS FURTHER ORDERED that the defendant shall complete any drug treatment program and community service
                     specified in this judgment as a requirement for the reinstatement of eligibility for federal benefits.

   Pursuant to 21 U.S.C. § 862(d), this denial of federal benefits does not include any retirement, welfare, Social Security, health,
disability, veterans benefit, public housing, or other similar benefit, or any other benefit for which payments or services are
required for eligibility. The clerk is responsible for sending a copy of this page and the first page of this judgment to:

                             U.S. Department of Justice, Office of Justice Programs, Washington, DC 20531.
